











NO. 07-06-0397-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

FEBRUARY 27, 2008
______________________________

BAILEY R. WHITFIELD, JR., APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2004-404942; HONORABLE CECIL G. PURYEAR, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Bailey R. Whitfield, Jr., appeals his conviction for possession with intent
to deliver a controlled substance, cocaine, of less than one gram, within a drug free zone
and subsequent punishment of thirty years confinement in the Texas Department of
Criminal Justice, Institutional Division.  Through two issues, appellant contends that the
trial court committed reversible error in granting the State’s challenge for cause of a
prospective juror and that the evidence was insufficient to corroborate the evidence
provided by a confidential informant.  We affirm.
Procedural and Factual Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Lubbock Police initiated an investigation into cocaine trafficking at a residence 
located at 104 North Zenith in the City of Lubbock.  Police used a confidential informant,
CI, to purchase the cocaine.  The CI was fitted with a listening device and sent to the
residence where she made contact with an individual in the front yard.  The conversation
of the transaction was also recorded on a tape recorder.  The identity of the person
contacted was not known to the police and they were unable to hear the name when given. 
The person contacted went inside the house and came out with the contraband.  When the
CI asked his street name, the suspect gave the name of “Little Bailey,” which the
surveillance officers did hear.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Subsequent to the purchase of cocaine, attempts were made to ascertain the name
of the individual identified as “Little Bailey.”  Agent Riddle


 was able to determine that the
street name belonged to appellant.  At trial, Officer Johnson was able to identify appellant’s
voice as that of the individual he heard during the drug transaction with the CI.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At trial, during general questions of the jury panel, venire person Farthing related
an incident involving a family member that had resulted in a negative opinion of law
enforcement officers.  Later, Farthing was questioned individually at some length regarding
her opinions about law enforcement officers in general and Lubbock Police Officers in
particular.  Again, Farthing related an incident involving a member of her family that
resulted in a negative opinion of law enforcement officers.  She admitted that she did not
know any of the names of the police officers that would testify in appellant’s case. 
However, in the final analysis, she stated to the trial court that based on her experience
she would rather call someone other than the police if she were hurt and in need of
assistance.  The result was a challenge for cause by the State that was granted.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends via two issues that:
1) the trial courts granting of the State’s challenge for cause was an abuse
of discretion and harmful, and
&nbsp;
2) the evidence was insufficient to corroborate the testimony of the CI and
connect the appellant to the commission of the offense charged.
&nbsp;
Challenge for Cause
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When reviewing an alleged error involving jury voir dire, we are directed to review
the actions of the trial court under an abuse of discretion standard.  See Kemp v. State,
846 S.W.2d 289, 297 (Tex.Crim.App. 1992).  We will reverse only when the trial court’s
decision was so clearly wrong as to be outside that zone within which reasonable persons
might disagree.  Id. (citing Montgomery v. State, 810 S.W.2d 372, 391 (Tex.Crim.App.
1990)).  &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is appellant’s contention that the granting of the State’s challenge for cause as to
Farthing amounted to an abuse of discretion that resulted in harm to appellant.  Appellant
and the State both properly direct the court to the Code of Criminal Procedure for guidance
on the question of challenges for cause.  See Tex. Code Crim. Proc. Ann. art. 35.16
(Vernon Supp. 2006).


   However, the interpretation of this provision by appellant is much
more restrictive than that posited by the State.  Appellant contends that none of the
questions asked of Farthing were directed to issues regarding whether the proposed juror
had a bias or prejudice against any phase of the law the State was entitled to rely on for
conviction.  Article 35.16(b)(3).  The State, on the other hand, posits that the questions
asked of and answers given by Farthing go to the subject matter of art. 35.16(b)(3), that
is, they demonstrated a bias or prejudice against a phase of the State is entitled to rely.
Art. 35.16(b)(3).  Mays v. State, 904 S.W.2d 920, 924 (Tex.App.–Fort Worth 1995, no pet.) 
However, we need not accept the interpretation of either party for a challenge for cause
may be granted on grounds not specifically enumerated in art. 35.16.  Allridge v. State, 850
S.W.2d 471, 484 (Tex.Crim.App. 1991).  This is especially true where the basis for the
challenge is that the prospective juror is incapable or unfit to serve.  Id.  Such decisions are
left to the sound discretion of the trial judge.  Id. at 484-85.  In the case before this court,
the prospective juror had very serious doubts about believing a police officer, based upon
her family’s experience.  The trial judge heard Farthing’s answers to the questions asked
and observed her demeanor as she answered those questions.  He was in the best place
to make a determination about her fitness to serve. See Kemp 846 S.W.2d at 291. 
Appellant argues that the answers given by Farthing indicated she could serve, however,
these answers only serve to place Farthing in the category of a vacillating juror and, it is
clear that in such circumstances, we view the trial court’s decision with great deference. 
Rachal v. State, 917 S.W.2d 799, 810 (Tex.Crim.App. 1996).  Viewing the action of the trial
court with the deference required, we cannot say that sustaining the State’s challenge for
cause was an abuse of discretion.  Kemp, 846 S.W.2d at 297.  Accordingly, appellant’s first
issue is overruled.
Sufficiency of the Evidence
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant next contends that the evidence is legally insufficient to corroborate the
confidential informant’s testimony.  The applicable statute is article 38.141 which provides:
(a) A defendant may not be convicted of an offense under Chapter 481,
Health and Safety Code, on the testimony of a person who is not a licensed
peace officer or a special investigator but who is acting covertly on behalf of
a law enforcement agency or under the color of law enforcement unless the
testimony is corroborated by other evidence tending to connect the
defendant with the offense committed.
&nbsp;
(b) Corroboration is not sufficient for the purposes of this article if the
corroboration only shows the commission of the offense.
&nbsp;
Art. 38.141(a),(b).  To evaluate the evidence for corroboration, we must first eliminate the
testimony of the CI and review the record to determine if there is other evidence to
sufficiently connect appellant to the commission of the offense.  Smith v. State, 211
S.W.3d 476, 478 (Tex.App.–Amarillo 2006, no pet.); Dennis v. State, 151 S.W.3d 745, 749
(Tex.App.–Amarillo 2004, pet. ref’d).  The corroborating evidence does not have to directly
link appellant to the crime nor establish his guilt beyond a reasonable doubt. Id.  The
corroborating evidence need only connect appellant to the offense.  Finally, the review of
the corroborating evidence is done in the light most favorable to the verdict.  Smith, 211
S.W.3d at 478.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After eliminating the testimony of the CI, we are left with the testimony of Officer
Johnson and Agent Riddle.  Officer Johnson testified that on the day in question, the CI
was wearing a recording device.  After the tape recording was played at the trial, Officer
Johnson testified that he recognized the voices on the tape as being that of the CI, fellow
officer Escobedo and appellant.  Agent Riddle, who was a patrol officer at the time, was
given the task of trying to place the street name of “Little Bailey” with a person.  He testified
that through his investigation he was able to identify appellant as the individual who had
the street name of “Little Bailey.”  Lastly, Bailey is also appellant’s first name. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant posits that the failure of the State to make a tape recording of appellant’s
voice and have the same compared, by an expert, to the tape of the drug transaction
should result in Officer Johnson’s testimony being considered of no consequence. 
However, the fact that the State did not do so does not render the testimony of Officer
Johnson inconsequential; it may, if the jury were to believe appellant, lessen the
believability of the officer’s testimony.  The decisions regarding the weight and credibility
to be given testimony are for the jury.  See Cain v. State, 958 S.W.2d 404, 408-09
(Tex.Crim.App. 1997).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The testimony of Officer Johnson identifying the voice of appellant, when considered
with the other evidence is sufficient corroboration.  See Jefferson v. State, 99 S.W.3d 790,
792-93 (Tex.App.–Eastland 2003, pet. ref’d).  We therefore overrule appellant’s second
issue.
&nbsp;
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled appellant’s two issues, the judgment of the trial court is affirmed.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice









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